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     Abdulai Bah
     1781 Night Drive
     St. Louis, MO 63031

     September 25, 2022


     Ref.: Mohammed Almuttan

     The Honorable Ronnie L. White
     United States District Judge
     United States District Court
     Eastern District of Missouri
     111 South Tenth Street
     St. Louis, MO 63102


     Dear Judge White:

     I have know Mohammed Almuttan as a good friend for over three solid years. I was both
     troubled and surprised to hear about his recent case as he has always been a solid and
     serious person. It is for this reason I am happy to write a letter of reference for Mr.
     Almuttan regarding this matter. I understand the seriousness of the matter however;
     hope the court will show some leniency.

     Mohammed Almuttan has always been an upright character in the community. In our
     friendship, he has really been there for me, especially when the Covid-19 hit and the
     company I worked for had to reduce my working hours. He made it a point to be there
     and show a significant amount of support during a sudden and arduous job search. It
     was Mohammed Almuttan that was a source of camaraderie for both me and my family.
     He has truly been a good friend over the years.

     In addition to our friendship, he is a usually upstanding member in the community both at
     his neighborhood and the cities he is operating his various businesses in the St. Louis
     Area and its environs. While I was surprised to hear of the misconduct, it comes as no
     surprise that he is ready to accept responsibility for his actions, I believe that as we
     move forward, he will emerge a better person. In short, Mohammed Almuttan expressed
     deep sense of remorse in making such a serious mistake and I believe in his ability to
     pay his debt to society.

     It is my sincere hope the court takes this letter into consideration at the time of
     sentencing. Despite the current case, I still believe Mohammed Almuttan to be an
     honorable individual, a valuable member of my community, and a good human being.

     Sincerely,



     Abdulai Bah
